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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CURTRINA MARTIN, et al.,

       Plaintiffs,
                                        Civil Action File No.
v.                                      1:19-CV-04106-JPB

UNITED STATES OF AMERICA, et
al.,

       Defendants.

HILLIARD TOI CLIATT,

Plaintiff,
                                        Civil Action File No.
v.                                      1:19-CV-04180-JPB

UNITED STATES OF AMERICA, et
al.,

Defendants.

                 MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

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I.    INTRODUCTION

      These cases arise out of the attempted execution of search and arrest

warrants at the wrong home – Plaintiffs’ home – on October 18, 2017, at

approximately 5:00 a.m. Plaintiffs purport to assert a Fourth Amendment claim

for illegal entry, detention, and false arrest against FBI Special Agent Lawrence

Guerra pursuant to Bivens v. Six Unknown Named Agents of Federal Bureau of

Narcotics, 403 U.S. 388 (1971), and tort claims against the United States pursuant

to the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b), et seq. (the “FTCA”).

      As discussed below, however, the undisputed material facts show that

Guerra engaged in significant preparations prior to the attempted warrant

executions and that his conduct at all times was reasonable and well above the

standard required under “clearly established” law. What is more, the conduct at

issue here is the exact type of conduct that both this Court and the Eleventh

Circuit have held is subject to the FTCA’s discretionary function exception. As a

result, qualified immunity bars Plaintiffs’ claims against Guerra, this Court lacks

subject matter jurisdiction over certain of Plaintiffs’ FTCA claims, and Plaintiffs’

remaining FTCA claims fail as a matter of law.

      Accordingly, Defendants are entitled to summary judgment.




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II.    FACTUAL BACKGROUND

       A.    The Parties

       Plaintiffs are Curtrina Martin and her minor child, G.W., in Martin, and

Hilliard Toi Cliatt, III, in Cliatt. Martin, Doc. 1; Cliatt, Doc. 1. At all relevant

times, Plaintiffs lived at 3756 Denville Trace SW, Atlanta, Georgia (hereinafter,

“3756 Denville”).1 Deposition of Hilliard Toi Cliatt (“Cliatt Dep.”) (Ex. A), at

10:5-24; Deposition of Curtrina Martin (“Martin Dep.”) (Ex. B), at 11:11-12:13.

       Defendants are the United States of America and FBI Special Agent

Lawrence Guerra. Martin, Doc. 1; Cliatt, Doc. 1. Other than a temporary

assignment in Washington, D.C. in 2009 and 2010, Guerra has served as a Special

Agent in the FBI’s Atlanta Field Office since 1997. Deposition of Lawrence

Guerra, Mar. 31, 2021 (“Guerra Dep.”) (Ex. C), at 13:5-13:23. As part of his

collateral duties, Guerra also has served as an FBI tactical and firearms instructor

and as a member of the FBI SWAT team, including as a SWAT team leader. Id. at

16:25-17:21, 20:25-22:3, 26:14-24. As a Special Agent, including as a SWAT team

leader, Guerra does not supervise other agents. Id. at 17:22-19:2, 26:25-27:4.



1 Although this Court’s Standing Order Nos. 04-02 and 08-02 direct parties to

omit or redact home addresses, the addresses identified herein already are
identified in Plaintiffs’ Complaints and are central to the issues alleged. Martin,
Doc. 1 ¶¶ 10, 12; Cliatt, Doc. 1 ¶¶ 9, 11.

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      B.     The Underlying FBI Operation

      In 2015, the FBI initiated an operation concerning violent gang activity in

Georgia, involving murder, robbery, drug trafficking, and firearm possession by

numerous individuals, including Joseph Riley. Deposition of Joshua Thompson

(“Thompson Dep.”) (Ex. D) ¶¶ 22:9-22:4, 26:19-24; United States v. Evans, et al.,

No. 1:16-CR-00427-AT-JKL (N.D. Ga.) (Doc. 33). The operation resulted in a

criminal indictment against Riley and 29 others. Evans, No. 1:16-CR-00427-AT-

JKL (N.D. Ga.) (Doc. 33). Arrest warrants then were issued against the criminal

defendants, including Riley, and search warrants were issued for seven locations,

including Riley’s address of 3741 Landau Lane SW, Atlanta, Georgia (hereinafter,

“3741 Landau”). See id. (Docs. 78-107); Declaration of Deborah Crum (“Crum

Decl.”) (Ex. E), Exs. 1 & 2. Riley’s arrest warrant ordered his arrest “forthwith,”

and the search warrant for 3741 Landau authorized execution “at any time day

or night” on or before October 29, 2017. Crum Decl., Exs. 1 & 2. The affidavit

requesting the search warrant stated that the warrant would be executed at

approximately 5:00 a.m. “to better ensure officer safety.” Id., Ex. 3.

      C.     The FBI’s Planning of the Warrant Executions

      The FBI began planning the warrant executions before the indictment and

warrants had been issued. Thompson Dep., at 22:9-23:16; Guerra Dep., at 52:14-

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53:11, 55:21-56:5. Given the magnitude of the operation, a large portion of the

FBI’s Atlanta Field Office, including Guerra, was involved. Deposition of

Jennifer Bazzell (“Bazzell Dep.”) (Ex. F), at 33:24-34:22; Guerra Dep., at 52:14-

53:11, 58:3-16. The planning included assigning teams, coordinating with local

law enforcement agencies and other FBI field offices, and preparing target sheets.

Id. As to 3741 Landau, it also included using intelligence (such as geolocation

data)2 to associate Riley to that address and physical surveillance on September

21, 2017, and October 3, 2017. Thompson Dep., at 38:14-42:10 & Ex. 26.

      During this process, the FBI determined that, while not all of the targets

posed a high risk of violence or injury to FBI agents, based on Riley’s history,

Riley and 3741 Landau did. Id. at 26:3-24; Guerra Dep., at 32:23-33:4, 52:14-53:11;

Bazzell Dep., at 34:13-24. The FBI thus decided that a FBI SWAT team would be

assigned to make entry at 3741 Landau and secure it for other FBI personnel to

execute the warrants. Thompson Dep., at 26:3-27:17, 51:16-24; see also Deposition

of Michael Lemoine (“Lemoine Dep.”) (Ex. H), at 10:20-11:14 (explaining that


2 See Deposition of Lawrence Guerra, Aug. 4, 2021 (“Guerra Dep. II”) (Ex. G), at

12:13-20. Riley’s geolocation data was the subject of a prior discovery dispute.
See Doc. 80. As Guerra testified at his re-opened deposition, geolocation data is
“not a navigational system” or navigational tool for executing a warrant but is an
“investigative technique” or “form of intel” used by the case agent (not the
SWAT team leader). Guerra Dep. II, at 21:10-22:7, 23:21-24:14, 25:21-26:3, 29:3-16.

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SWAT team only are deployed to high-risk situations); Deposition of Gregory

Donovan (“Donovan Dep.”) (Ex. I), at 21:12-22:15 (same).

      For each SWAT location, the FBI prepared, in addition to a general

Operation Order, a SWAT Addendum to the Operation Order. Guerra Dep., at

34:21-35:21; Crum Decl., Exs. 4 & 5. The Operation Order provided case

background and specified, among other things, that the seven search warrants

and 17 arrest warrants (including the Riley and 3741 Landau warrants) would be

executed simultaneously on October 18, 2017, at 5:00 a.m. Crum Decl., Ex. 4. The

SWAT Addenda set forth SWAT-specific tactical considerations, such as

mechanically breaching the front door and deploying flash bangs within the

team leader’s discretion, and provided that the “SWAT teams will need to

achieve a near simultaneous start to ensure surprise is achieved.” See id., Ex. 5.

      The SWAT Addendum for 3741 Landau also included more specific

information regarding Riley and that location. Id. For example, it identified 3741

Landau as a “two-story, corner residence” and provided a large photograph of

the front of the residence, an overhead image of the neighborhood with a pin

denoting 3741 Landau, and directions to the property from downtown Atlanta

with a corresponding map. Id. As to Riley, it provided photographs, gave his




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physical description, and identified his alleged history of violence and gun

possession, including his participation in a prior shooting. Id.

      The photograph of 3741 Landau used in the SWAT Addendum was taken

by FBI Task Force Officer Joshua Thompson during his surveillance on October

3, 2021. Thompson Dep., at 39:20-46:23 & Exs. 26 & 27. Thompson was one of

the case agents for the overall operation and the assigned Case Agent for Riley

and later would participate in the warrant executions at 3741 Landau. Id. at

27:18-22, 24:16-25:22, 66:22-68:13. In addition to driving by and discreetly taking

photographs of the residence, Thompson conducted surveillance of 3741 Landau

for more than two hours on October 3, 2017, from “about 200 yards away using

binoculars from a side street” out of concern for being seen. Id. at 40:13-19, 44:6-

9, 47:20-48:5 & Exs. 26 & 27.

      D.     Guerra’s Additional Preparations Prior to October 18, 2017

      From October 1, 2017, to October 13, 2017, Guerra was on a humanitarian

mission for the FBI in Puerto Rico, following Hurricane Maria. Guerra Dep., at

55:21-56:7. While he was away, the FBI assigned Guerra to be the SWAT Team

Leader for the warrant executions at 3741 Landau. Id. He was provided with,

among other things, the names of the other SWAT team members assigned to

3741 Landau, the Operation Order and a SWAT Addendum with additional

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photographs of 3741 Landau, and additional background on Riley. Id. at 57:17-

58:25; Bazzell Dep., at 46:12-47:1, 53:14-54:22, & Exs. 39 & 42.

      After returning from Puerto Rico and in preparation for the warrant

executions, Guerra conducted a “site survey” (or drive-by) of 3741 Landau,

during which he took photographs and identified specific features that, based on

his experience, would be helpful to the SWAT team entry and allow him to

identify the property in the early morning of the warrant executions. Guerra

Dep., at 60:23-61:3, 65:14-67:18, 73:25-77:20, 82:1-12, 84:17-86:12. Because Riley

and the gang were known to be violent and surveillance conscious, Guerra

limited his time outside the house. Id. at 78:9-79:2. Nevertheless, Guerra noted

that the house was beige and split-level, located on a corner lot, had a

driveway/garage on a separate street that ran perpendicular to the front door,

and had a large tree in the front corner of the property. Id. at 73:25-77:20, 84:17-

86:12, & Ex. 3 ¶¶ 16-18. He also observed that the home had a tight stairway and

stoop leading to the front door and windows on either side that would make

tactical entry difficult and provide little cover to the agents in case of gunfire. Id.

      After completing the site survey, Guerra drove to and chose a staging area

(or meet-up location) for the warrant executions, which he communicated to the

SWAT team members and other personnel who would be participating. Id. at

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65:14-25, 66:23-67:3. He also wrote tactical notes, which specified the “stack”

formation or order in which SWAT team members would position themselves

outside the front door, who would breach the door, who would carry a shield,

and who would go upstairs or downstairs upon entry. Id. at 85:14-18, 158:5-

159:15 & Ex. 5. In addition, Guerra attended an operational briefing on October

17, 2017, which included presentations on (including photographs of) Riley and

3741 Landau. Id. at 96:23-97:6, 163:11-20; Thompson Dep., at 63:13-64:7.

      E.    Guerra’s Attempted Drive-By of 3741 Landau on the Morning of
            the Warrant Executions

      On October 18, 2017, shortly after 3:30 a.m., Guerra attempted to conduct a

second drive-by of 3741 Landau with FBI Special Agent Michael Lemoine to

determine whether there might be any new conditions (e.g., vehicles in front or

lights indicating someone was awake) that could impact the tactical operation.

Guerra Dep., at 94:6-96:12; Lemoine Dep., at 40:19-42:2. Like other agents,

Guerra often used a GPS device for navigation purposes; and, in this instance,

Guerra used a Garmin GPS to navigate to 3741 Landau. Guerra Dep., at 100:2-

101:6; Lemoine Dep., at 48:4-20; Donovan Dep., at 29:3-30:11.

      At the time of this second drive-by, it was dark outside, and Guerra had

dimmed his vehicle’s headlights to avoid tipping off Riley. Guerra Dep., at


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106:18-107:12. When Guerra’s GPS unit alerted that they had arrived at 3741

Landau, Guerra observed what he believed to be the same house he had seen

during his previous site survey and in the photographs. Id. at 105:9-110:6. The

home was beige and split-level, was located on a corner lot, had a tight stairway

and stoop leading to the front door with windows on either side, had a

driveway/garage on a separate street that ran perpendicular to the front door,

and had was a large tree in the front corner of the property. Id. at 108:1-110:6; see

also Plf. Martin’s Responses to Defs.’ First Requests for Admission (Ex. J), Nos. 1-

20. Guerra and Lemoine also observed a black Camaro in the driveway, which

they later would use as a reference point when locating the home. Guerra Dep.,

at 236:15-237:7; Lemoine Dep., at 66:11-24.

      Unbeknownst to Guerra and Lemoine, and despite the GPS unit indicating

that they had arrived at 3741 Landau and the presence of all of the markers

Guerra previously had noted, the home was Plaintiffs’ home at 3756 Denville,

which faces Landau Lane, is only three or four houses (approximately 400 feet)

from 3741 Landau, and does not have its address in front of or anywhere on the

house. Guerra Dep., at 105:15-22, 109:20-110:9; Lemoine Dep., at 30:25-31:13;

Martin Dep., at 49:1-50:15, 95:24-96:12, & Exs. 1 & 7. In fact, the address for 3756

Denville only appeared on the mailbox, which was not on Landau Lane and,

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instead, was at the end of the driveway on Denville Trace. Martin Dep., at 49:11-

50:25 & Ex. 1. As a result, as shown in a photograph taken by Plaintiffs, even in

the daytime, the mailbox may not be visible when viewing the home from the

front (on Landau Lane). Id. at 49:1-51:9 & Ex. 1.

      F.     The Pre-Execution Briefing, and the Attempted Warrant Execution

      Following their drive-by, Guerra and Lemoine returned to the staging area

where the agents and other personnel participating in the warrant executions

were shown photographs of Riley and 3741 Landau and were briefed on the case,

the tactical plan, Riley and 3741 Landau, and the black Camaro. Guerra Dep., at

110:22-112:23, 116:12-117:22, 207:19-23, 237:4-7; Thompson Dep, at 66:21-67:12,

71:22-74:1; see also Deposition of Timothy Burke (“Burke Dep.”) (Ex. K), at 28:7-

30:10; Deposition of Douglas Dye (“Dye Dep.”) (Ex. L), at 45:11-46:15, 48:16-50:10;

Deposition of Tim Fehmel (Ex. M), at 9:19-10:21, 42:19-45:2.

      Shortly before 5:00 a.m., the agents left the staging area for 3741 Landau in

a caravan of vehicles, which included Atlanta Police Department (“APD”)

officers. Guerra Dep., at 128:17-129:3, 149:9-23; see also Crum Decl. ¶ 4(f) & Ex. 6.

It was still dark outside. Guerra Dep., at 206:7-12; see also Declaration of Ben C.

McGee, III (“McGee Decl.”) (Ex. N) ¶¶ 2-4 & Ex. 1(a)-(b). When Guerra

identified what he believed to be 3741 Landau based on the black Camaro, his

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prior preparation, and the morning drive-by, he directed the driver of his vehicle

to stop in front of the house—on Landau Lane—and the other vehicles followed

suit. Guerra Dep., at 236:24-237:22 & Ex. 3 ¶ 45; Dye Dep., at 44:15-46:1

      SWAT team members and perimeter personnel quickly exited their

vehicles and went to their assigned locations while focusing on the structure and

any danger areas such as windows and exit points. Guerra Dep., at 130:23-

131:13; Thompson Dep., at 66:22-68:13, 92:10-21; Burke Dep., at 46:17-47:10.

Neither Guerra nor Thompson, who had conducted more than two hours of

surveillance at 3741 Landau two weeks earlier, nor any of the other agents and

officers realized they were not at 3741 Landau. E.g., Guerra Dep., at 140:5-15;

Thompson Dep., at 66:22-68:13, 92:10-21; Deposition of Michael Pettry (“Pettry

Dep.”) (Ex. O), at 69:20-71:4 & Ex. 24. Once the team was in position, Guerra

loudly knocked and announced the presence of law enforcement and, after

waiting and receiving no response, directed the door be breached. Guerra Dep.,

at 133:23-136:11; see also Martin Dep., at 59:12-61:25; Cliatt Dep., at 121:14-17. An

agent breached the door, and another agent deployed a diversionary device (or

“flash bang”) inside the front door. Guerra Dep., at 136:12-137:13. The agents

then entered the home at or about 5:00 a.m. McGee Decl., Exs. 1(a) & (b); Guerra

Dep., at 131:16-132:1; Cliatt Dep., at 99:13-103:4 & Ex. 6; Martin Dep., at 62:2-19.

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      After the agents entered the home, Cliatt and Martin went into their

bedroom closet, where Cliatt kept a shotgun. Cliatt Dep., at 121:18-23; Martin

Dep. 51:16-54:14.3 Within a minute, one or more agents (but not Guerra) located

Cliatt and Martin in the closet and pulled Cliatt out of the closet, dragged him to

the bedroom floor, and handcuffed him. Cliatt Dep., at 92:19-95:13, 127:1-130:1;

Martin Dep., at 72:8-13; Guerra Dep., at 137:14-139:9. No agent ever touched or

handcuffed Martin. Martin Dep., at 71:12-14, 90:2-4.4

      When Guerra entered the bedroom, Cliatt already had been detained.

Guerra Dep., at 137:14-139:9. Guerra observed that Cliatt did not have the same

tattoos he had seen in the photographs of Riley and asked Cliatt for his name and

address, which Cliatt provided. Id. at 140:5-18; Cliatt Dep., at 93:14-22. At or

about that time, Lemoine saw mail that showed a different address than 3741

Landau and brought it to Guerra. Lemoine Dep., at 32:8-17, 33:21-34:6. As soon

as Guerra realized they were not at the correct home, he “immediately started



3 According to one agent, Cliatt announced there was a shotgun in the closet

before the closet was opened. Burke Dep., at 15:21-16:25. According to Cliatt, he
advised the agents of the shotgun, but not until he was out of the closet and
already detained. Cliatt Dep., at 121:24-126:18.
4 According to Cliatt, “it appeared [the agents] had no interest in [Martin].I was
their primary target, so they went after me and pulled me out first.” Cliatt Dep.,
at 128:23-129:2.

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spinning everything down.” Id. at 33:21-34:6; see Guerra Dep., at 140:5-15; Burke

Dep., at 14:8-20; Martin Dep., at 53:9-54:8; Cliatt Dep., at 93:14-95:13. Cliatt was

lifted up and uncuffed, Guerra advised Plaintiffs that he would come back to

explain what happened, and the agents immediately left the home. Cliatt Dep.,

at 91:19-95:13, 132:6-133:16; Martin Dep., at 53:2-54:14, 77:14-23.

      As the agents’ geolocation data and the APD body-worn camera footage

show, the agents were inside Plaintiffs’ home for five minutes or less. Crum

Decl. ¶ 4(f) & Ex. 6; McGee Decl. ¶¶ 2-4 & Exs. 1(a) & (b). Other than a sore knee

for which Cliatt did not seek treatment and recovered, Plaintiffs do not claim any

physical injury. Cliatt Dep., at 150:5-19; Martin Dep., at 71:12-14.

      At or about 5:07 a.m., the agents made entry at 3741 Landau, where Riley

was arrested after attempting to flee. Crum Decl., Ex. 6; McGee Decl. ¶¶ 2-4 &

Ex. 1(c), (d), & (e); Thompson Dep., at 66:22-68:13; Burke Dep., at 23:17-25:16.

      Once Riley and 3741 Landau were secured, Guerra returned to Plaintiffs’

home where he apologized to Plaintiffs, provided his business card and the name

of an FBI contact, and documented the damage caused by the entry. Guerra

Dep., at 152:17-20, 203:22-204:13; Cliatt Dep., at 95:4-8, 146:16-147:22; Martin

Dep., at 54:9-14, 99:17-100:1. Cliatt testified that Guerra was “kind” and “felt that

he was apologetic.” Id. at 147:18-22; see also Martin Dep., at 54:19-14, 99:17-100:1.

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      G.     Neither Guerra Nor the Other Agents Violated Any FBI Policy.

      There is no evidence that Guerra or any other agent violated any FBI

policy with respect to the planning of or execution of the warrants. See Pettry

Dep., at 32:11-38:11, 50:19-51:20, 64:12-65:5; Guerra Dep., at 25:1-26:13, 48:5-51:23,

100:18-101:1, 203:20-21; Donovan Dep., at 27:3-28:6, 57:11-18; Lemoine Dep., at

9:12-10:18, 48:4-24. For example, no FBI policy or standard operating procedure

sets forth how to locate or navigate to a target, whether to use a GPS device or

what type of GPS device must be used, whether to conduct or how to conduct a

site survey or drive-by of a target location, or how long to wait before entering

after knocking and announcing. Id. Rather, these decisions are discretionary,

based on the facts and circumstances of each case. Id.

      H.     Plaintiffs’ Lawsuits

      Plaintiffs’ complaints are virtually identical and purport to assert a Fourth

Amendment Bivens claim against Guerra for illegal entry, detention, and false

arrest (Count VI). Martin, Doc. 1 ¶¶ 80-93; Cliatt, Doc. 1 ¶¶ 80-92. In addition,

they purport to assert the following FTCA claims against the United States:

                    Martin                          Cliatt
       Count I      False Arrest/False              False Arrest/False
                    Imprisonment                    Imprisonment
       Count II     Assault and Battery             Assault and Battery


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         Count III   Trespass                        Trespass and Interference
                                                     with Private Property
         Count IV    Negligent Infliction of         Intentional and/or
                     Emotional Distress              Negligent Infliction of
                                                     Emotional Distress
         Count V     Negligence                      Negligence

Martin, Doc. 1 ¶¶ 43-79; Cliatt, Doc. 1 ¶¶ 47-79.

III.    ARGUMENT AND CITATIONS TO AUTHORITY

        Summary judgment is proper “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). On a motion for summary judgment, the

moving party has the initial burden to show that there “is an absence of evidence

to support the nonmoving party’s case.” Celotex Corp. v. Catrett, 477 U.S. 317, 325

(1986). Once the moving party makes this showing, the burden shifts to the non-

moving party to “go beyond the pleadings” and present competent evidence,

designating “specific facts showing there is a genuine issue for trial.” Id. at 324.

        A.    Guerra Is Entitled to Summary Judgment (Count VI).

              1.     Qualified Immunity Generally

        “Qualified immunity offers complete protection for government officials

sued in their individual capacities if their conduct ‘does not violate clearly

established statutory or constitutional rights of which a reasonable person would


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have known.’” Wood v. Kesler, 323 F.3d 872, 877 (11th Cir. 2003) (quoting, inter

alia, Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). “The purpose of this immunity

is to allow government officials to carry out discretionary duties without the fear

of personal liability or harassing litigation, protecting from suit all but the plainly

incompetent or one who is knowingly violating the federal law.” Id. (citation

omitted). In other words, “[q]ualified immunity ‘gives government officials

breathing room to make reasonable but mistaken judgments.’” Messerschmidt v.

Millender, 565 U.S. 535, 546 (2012) (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 743

(2011)). “Because qualified immunity is ‘an immunity from suit rather than a

mere defense to liability . . . it is effectively lost if a case is erroneously permitted

to go to trial.’” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (citation omitted).

      To establish qualified immunity, a government official must show that “he

was acting within the scope of his discretionary authority when then wrongful

acts occurred.” Wood, 323 F.3d at 877. Here, Guerra was acting within the scope

of his discretionary authority at all relevant times. See Hartsfield v. Lemacks, 50

F.3d 950, 953 (11th Cir. 1995). Consequently, the burden shifts to Plaintiffs to

demonstrate that Guerra is not entitled to qualified immunity by showing that

(1) he violated a constitutional right, and (2) the right was “clearly established” at

the time of the incident at issue. Pearson, 555 U.S. at 236, 245. Courts “may

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consider these two prongs in either order, and a public official is entitled to

qualified immunity if the plaintiff fails to establish either one.” Jacoby v. Baldwin

County, 835 F.3d 1338, 1344 (11th Cir. 2016) (citation omitted).

      As discussed below, the Eleventh Circuit has twice recently resolved the

issue of qualified immunity in this type of case exclusively under the second

prong—whether the right was “clearly established” at the time of the incident at

issue. See Norris v. Hicks, 855 F. App’x 515, 2021 WL 1783114, at *5-*8 (11th Cir.

May 5, 2021); White v. Mclain, 648 F. App’x at 838, 841-42 (11th Cir. 2016). As a

result, Guerra will proceed directly to that prong.

             2.    Guerra Did Not Violate “Clearly Established” Law.

      “An official’s conduct violates clearly established law when ‘the contours

of [the] right are sufficiently clear that every reasonable official would have

understood that what he is doing violates that right.’” Echols v. Lawton, 913 F.3d

1313, 1324 (11th Cir. 2019) (quoting al-Kidd, 563 U.S. at 741). To satisfy this

standard, a plaintiff must point to (1) a “materially similar case [that] has already

been decided,” (2) “a broader, clearly established principle that should control

the novel facts of the situation,” or (3) conduct that “so obviously violate[s] the

[C]onstitution that prior case law is unnecessary.” Id. (citation omitted). Because

“the Supreme Court has warned [courts] not to ‘define clearly established law at

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a high level of generality,’” however, “the second and third paths are rarely-trod

ones.” Crocker v. Beatty, 995 F.3d 1232, 1240 (11th Cir. 2021) (citations omitted).

But regardless, “[i]n all of these circumstances, qualified immunity will be

denied only if the preexisting law by case law or otherwise ‘make[s] it obvious

that the defendant’s acts violated the plaintiff’s rights in the specific set of

circumstances at issue.’” Gates v. Khokhar, 884 F.3d 1290, 1297 (11th Cir. 2018)

(citation omitted). To determine that a right is clearly established, courts may

“look only to binding precedent at the time of the challenged conduct—that is,

‘the decisions of the Supreme Court, the Eleventh Circuit, or the highest court of

the state.’” Echols, 913 F.3d at 1324 (citation omitted). At the same time, “non-

binding persuasive authority can be used to indicate that a particular

constitutional right is not clearly established.” Corbitt v. Vickers, 929 F.3d 1304,

1319 n.14 (11th Cir. 2019) (citation omitted) (emphasis added).

      At issue here is the Fourth Amendment, which provides “[t]he right of the

people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.” U.S. Const., amend. IV. “As the text

indicates and [the Supreme Court has] repeatedly affirmed, ‘the ultimate

touchstone of the Fourth Amendment is ‘reasonableness.’” Heien v. North

Carolina, 574 U.S. 54, 60 (2014) (citation omitted). “To be reasonable is not to be

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perfect, and so the Fourth Amendment allows for some mistakes on the part of

government officials, giving them ‘fair leeway for enforcing the law in the

community’s protection.’” Id. at 60-61 (citation omitted). Consequently, where a

government official mistakenly attempts to execute a valid warrant at the wrong

address, there is no Fourth Amendment violation as long as the official’s conduct

“was consistent with a reasonable effort to ascertain and identify the place

intended to be searched.” Maryland v. Garrison, 480 U.S. 79, 88 (1987); Norris,

2021 WL 1783114, at *5-*8; White, 648 F. App’x at 841-42; cf. Hartsfield, 50 F.3d at

954-56.

       In their Complaints, Plaintiffs point to Hartsfield, in which the Eleventh

Circuit denied qualified immunity to a deputy sheriff who erroneously led

officers to the wrong house—5128 Middlebrooks Drive instead of 5108

Middlebrooks Drive—while attempting to execute a search warrant. See 50 F.3d

at 955; Martin, Doc. 1 ¶ 91; Cliatt, Doc. 1 ¶ 90. But there, “the entry occurred

during daylight hours and [] the house numbers were clearly marked.”

Hartsfield, 50 F.3d at 952. Furthermore, while the target residence “was a corner

house on a dead-end street” and “had junk cars and the like strewn outside,” the

plaintiff’s house “was further down the block” and “had a fence around it.” Id.

And the only action the deputy took prior to the warrant execution was going to

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the residence with a confidential informant the day before and “wait[ing] outside

in his vehicle” while the informant entered the home and purchased drugs. Id.

In denying qualified immunity, the Eleventh Circuit explicitly rested its holding

on the fact that the deputy “did nothing” and “had done nothing” to make sure

that he was leading officers to the correct residence. Id. at 955 (emphasis added).

      Over two decades later, in White, the Eleventh Circuit emphasized the

limited proposition for which Hartsfield stands and granted qualified immunity

to a deputy sheriff who also led officers to the wrong address—1819 Toulmin

Avenue instead of 1817 Toulmin Avenue—when executing a search warrant. 648

F. App’x at 841-43. The White deputy mistakenly identified 1819 Toulmin

Avenue as 1817 Toulmin Avenue during his drive-by of the target the day before

the warrant execution, even though the numerical street address of 1819 Toulmin

Avenue “[was] posted at eye level to the left of [the] front door.” Id. at 840.

Believing he was at the correct home, the deputy took a photo and noted the

characteristics of that home, which he then used to brief the other officers on the

morning of the warrant execution. Id. at 840. When the deputy and other

officers later arrived at 1819 Toulmin Avenue, they did not observe the house

number next to the front door and proceeded to breach the door. Id. After entry,




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and before realizing their mistake, one of the officers detained the plaintiff,

handcuffed him, and pushed him to the floor. Id. at 840-41.

      Although the district court denied qualified immunity to the deputy based

on Hartsfield, the Eleventh Circuit reversed, explaining:

      None of our precedents holds—or logically compels the
      conclusion—that an officer’s well-intentioned attempts to ascertain
      and identify the property described in a warrant are not reasonable
      simply because they lead to an error, or because more accurate
      means of ascertaining the property’s identity were available.

Id. at 841. According to the White court, “[t]he Hartsfield Court, after all,

repeatedly noted and expressly rested its holding on the fact that ‘[the defendant

there] did nothing.” Id. at 842-43; see also id. at 842 (“In Hartsfield, ‘Newton did

nothing . . .’”) (emphasis added in White). Instead of doing “nothing,” the White

deputy revisited the block on which the house was located, took a photo of what

he believed to be the house, and verified that a car associated with the criminal

activity appeared to be parked behind the house he had identified. Id. at 842.

While “[h]is attempts were ineffectual, . . . he made them.” Id. The court, thus,

held the deputy was entitled to qualified immunity. Id. at 843; see also Rodriguez

v. Farrell, 280 F.3d 1341, 1345-51 & n.15 (11th Cir. 2002) (“The question is not

whether the police could have done more; but whether they did just enough.”).




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      Most recently, in Norris, the Eleventh Circuit again emphasized Hartsfield’s

limited application when it affirmed the grant of qualified immunity to a sheriff’s

captain who was part of a warrant execution team that erroneously executed a

no-knock search warrant at the wrong house. 2021 WL 1783114, at *1. There, the

warrant was for 305 English Road, which was the home of a known, violent drug

dealer. Id. Based on prior surveillance, the officers believed the home was an

active residence, with off-white siding, a black roof, and a black mailbox on a

wooden post displaying the address and the drug dealer’s surname. Id. at *2.

      Although the officers initially arrived at the correct location, they

mistakenly concluded that the house was not the correct location because it

appeared to be abandoned and dilapidated. Id. at *3. Rather than regroup or

reevaluate, the officers immediately proceeded to the next house (303 English

Road), which was yellow and approximately 40 yards away. Id. There, the

officers deployed two flash grenades, forcibly entered the home, and

apprehended the plaintiff before realizing their error. Id.

      In affirming the grant of qualified immunity, the Eleventh Circuit

emphasized that Hartsfield merely stands for the proposition that “an officer who

‘[does] nothing to make sure that he was leading the other officers to the correct

residence’ to execute a search warrant” violates the Fourth Amendment. Id. at *6

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(emphasis added in Norris) (quoting Hartsfield, 50 F.3d at 955). The Norris court

explained that, in contrast to doing nothing, the captain and the other officers

“carefully planned a high-risk raid at what was thought to be a dangerous target

house.” Id. at *8. Additionally, the possibility of guns, violence, and lookouts

also distinguished Norris from Hartsfield. Id. at *7. The Eleventh Circuit thus

held that the plaintiff had not shown a violation of “clearly established” law and

the captain was entitled to qualified immunity. Id. at *8-*9.

      Here, Guerra did as least as much as (if not more than) the deputy in

White, in the same type of high-risk environment as in Norris, and his mistake

was more reasonable because, among other things, it was dark, and Plaintiffs’

address was not posted anywhere on the house, much less next to the front door.

Far from doing nothing, the undisputed evidence shows that Guerra carefully

planned a high-risk SWAT entry at what was thought to be a dangerous target

house. In addition to reviewing the materials (including photographs) prepared

by his colleagues and attending an operation-wide briefing, Guerra conducted a

daylight drive-by of 3741 Landau, took his own photos of the residence, and

identified specific features that would be helpful to make entry and identify the

property later. He also attempted a second drive-by of 3741 Landau assisted by a

GPS navigation device on the morning of the warrant executions to determine

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any new conditions that could impact the operation, and confirmed the presence

of those specific markers seen on his initial daytime drive-by of 3741 Landau.

That none of the other agents, including Thompson who had personally

conducted surveillance of 3741 Landau for more than two hours only two weeks

earlier, realized they were not at the correct home alone demonstrates the

reasonableness of the mistake. Plaintiffs thus cannot show that Guerra violated

“clearly established” law, and Guerra therefore is entitled to summary judgment.

      B.     The United States Is Entitled to Summary Judgment (Counts I-V).

             1.    This Court Lacks Subject Matter Jurisdiction Over Counts
                   III-V Under the FTCA’s Discretionary Function Exception.

      A plaintiff cannot sue the United States unless sovereign immunity

unequivocally has been waived. Foster Logging, Inc. v. United States, 973 F.3d

1152, 1157 (11th Cir. 2020). Where sovereign immunity applies, district courts

lack subject matter jurisdiction. Id. at 1157 n.3. While the FTCA generally waives

the United States’ sovereign immunity for injuries caused by the acts of its

employees, the FTCA contains exceptions, which “must be strictly construed in

favor of the United States.” Id. at 1157 & n.4 (citation omitted). One exception is

the “discretionary function” exception in 28 U.S.C. § 2680(a). Id. at 1157.

      Under the discretionary function exception, the United States preserves its

sovereign immunity for any claim “based upon the exercise or performance or
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the failure to perform a discretionary function or duty on the part of a federal

agency or an employee of the Government, whether or not the discretion

involved be abused.” 28 U.S.C. § 2680(a). Its purpose is to “prevent judicial

‘second-guessing’ of legislative and administrative decisions grounded in social,

economic, and political policy through the medium of an action in tort.” United

States v. Gaubert, 499 U.S. 315, 323 (1991) (citation omitted).

      The Supreme Court has developed a two-part test that courts must apply

in determining whether challenged conduct falls within the discretionary-

function exception. Foster Logging, 973 F.3d at 1157 (citing Gaubert, 499 U.S. at

322). First, a court must examine the nature of the conduct to determine whether

it is “discretionary in nature,” meaning that it involves “an element of judgment

or choice.” Id. (quoting Gaubert, 499 U.S. at 322). Second, a court must determine

“whether the judgment is of the kind that the discretionary function exception

was designed to shield.” Id. (quoting Gaubert, 499 U.S. at 322-23).

      Here, as discussed below, Plaintiffs’ claims for trespass/interference with

property, intentional and negligent infliction of emotional distress, and

negligence are subject to the discretionary function exception because they arise




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from the agents’ failure properly to identify and locate the target address. See

Martin, Doc. 1, at 1 & ¶¶ 57-79; Cliatt, Doc. 1, at 1 & ¶¶ 59-79.5

                a. The Challenged Conduct Was Discretionary in Nature.

      To determine whether the challenged conduct was discretionary in nature,

the relevant inquiry is whether a controlling statute or regulation mandated that

the government agent perform his or her function in a specific manner. Foster

Logging, 973 F.3d at 1158. If a federal statute, regulation, or policy specifically

prescribed a course of action for the employee to follow, no judgment or choice

was involved, and the discretionary function exception does not apply. Id. at

1157. “Conversely, unless a ‘federal statute, regulation, or policy specifically

prescribes a course of action embodying a fixed or readily ascertainable

standard,’ it will be presumed that the particular act involved an element of

judgment or choice,” and the discretionary function exception will apply. Zelaya

v. United States, 781 F.3d 1315, 1330 (11th Cir. 2015) (citation omitted).




5 Although Plaintiffs’ claims for false arrest/false imprisonment and assault and

battery (Counts I & II) arise from the same conduct, the Eleventh Circuit has held
that those types of claims – which are contained in the FTCA’s “law enforcement
proviso” – are not subject to the discretionary function exception. See Nguyen v.
United States, 556 F.3d 1244, 1260 (11th Cir. 2009).

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      Here, no federal statute, regulation, or policy specifically prescribed a

course of action that the agents were required to follow in locating the target. See

Part II.G, supra; also Mesa v. United States, 123 F.3d at 1438 n.4; Vivas v. United

States, No. 1:20-CV-02217-WMR, 2021 WL 2582300, at *4 (N.D. Ga. Apr. 21, 2021).

Thus, “there was at least some element of judgment or choice at play,” and the

first prong of the discretionary function exception test is satisfied. See Foster

Logging, 973 F.3d at 1158; Zelaya, 781 F.3d at 1330.

                 b. The Judgment or Choice Was of the Kind that the
                    Discretionary Function Exception Was Designed to Shield.

      To determine whether the judgment or choice involved was of the kind the

exception was designed to shield, “the issue is whether ‘the nature of the actions

taken’ by [the government employees] were ‘susceptible to policy analysis.’”

Foster Logging, 973 F.3d at 1158 (quoting Gaubert, 499 U.S. at 325). “This inquiry

is not concerned with ‘the subjective intent of the government employee’ or

whether he or she ‘actually weighed social, economic, and political policy

considerations before acting.’” Id. at 1158 (citation omitted). Instead, it requires

courts “to look to the nature of the challenged decision in an objective, or general

sense, and ask whether that decision is one that we would expect inherently to be

grounded in considerations of policy.” Id. at 1159 (citation omitted).


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      In Mesa, plaintiffs asserted FTCA claims after DEA agents inadvertently

executed an arrest warrant on the wrong person. 123 F.3d at 1437. The plaintiffs

alleged that the DEA agents failed to ascertain the identity of the persons inside

the plaintiffs’ residence prior to serving the warrant, served the warrant on the

wrong man and/or at the wrong address, and failed to cease the detention and

questioning of the plaintiffs once their mistake was discovered. Id. In analyzing

the applicability of the discretionary function exception, the Eleventh Circuit

identified two types of conduct at issue: (a) “[t]he decision as to how to locate

and identify the subject of an arrest warrant prior to service of the warrant”; and

(b) “th[e] process of determining whether the person apprehended is actually the

person named in the arrest warrant.” Id. at 1438-39. After “readily” concluding

that both types of conduct are discretionary in nature, the court examined the

conduct under the second prong. Id.

      First, the Mesa court concluded that “[t]he decision as to how to locate and

identify the subject of an arrest warrant prior to service of a warrant is

susceptible to policy analysis.” Id. at 1438. The court explained:

      For example, in deciding how extensively to investigate the location
      and identity of the subject, agents may weigh the urgency of
      apprehending the subject in light of such factors as the potential
      threat the subject poses to public safety and the likelihood that the
      subject may destroy evidence. A desire to keep the investigation

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      secret—for tactical reasons, to protect confidential sources, to protect
      the agents involved, or for other reasons—may also factor into the
      decision as to how to locate and identify the subject of a warrant. In
      addition, agents may consider their available resources and decide
      how to allocate those resources among the many investigations for
      which they are responsible.

Id. at 1438. Second, the Mesa court concluded that “[t]he process of determining

whether the person apprehended is actually the person named in the arrest

warrant is grounded in considerations of public policy,” explaining:

      For example, in making such a determination, the agents may
      consider the possible repercussions of erroneously deciding that the
      person they apprehended is not in fact the person named in the
      warrant and letting that person go free. Such an erroneous decision
      could potentially create a serious danger to public safety, and could
      also pose a threat to the agents involved in executing the warrant if
      the freed subjected decided to retaliate against the agents.
      Additionally, the agents involved in executing the warrant may
      consider the fact that if they mistakenly free the person detained, the
      person may destroy evidence or may flee and thus evade or make
      more difficult future capture and prosecution.

Id. at 1438-39. The Mesa court thus held that the discretionary function exception

applied to the plaintiffs’ claims and affirmed the dismissal of the plaintiffs’ FTCA

complaint for lack of subject matter jurisdiction. Id.

      Earlier this year, in Vivas, this court followed Mesa in dismissing trespass,

invasion of privacy, infliction of emotional distress, and negligence claims under




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the exception where federal officers mistakenly executed search and arrest

warrants at the wrong apartment. Vivas, 2021 WL 2582300, at *4.6

      Here, the execution of the warrants at Plaintiffs’ home is no different than

the warrant executions in Mesa, Vivas, and Figueroa. As a result, the discretionary

function exception applies to Plaintiffs’ claims for trespass/interference with

private property, intentional and negligent infliction of emotional distress, and

negligence. Because the discretionary function exception applies, this Court

lacks jurisdiction, and the United States is entitled to summary judgment.

             2.     Plaintiffs’ Remaining Claims (Counts I & II) Fail to State a
                    Claim Against the United States under Georgia Law.

      Even where an exception to the FTCA’s waiver of sovereign immunity

does not apply, the United States still only may be held liable under the FTCA

“under circumstances where the United States, if a private person, would be



6 The Vivas Court also relied on Figueroa v. U.S., No. 13-1290 (CVR), 2014 WL

6879316, at *1, *8-*9 (D.P.R. Dec. 4, 2014), which similarly held that the exception
barred FTCA claims arising from FBI agents’ attempt to serve a warrant at the
“wrong house.” See id. at *3. The Figueroa agents deployed tear gas into
plaintiffs’ home, entered with weapons drawn, handcuffed one plaintiff, and
destroyed plaintiffs’ belongings before realizing their error. Id. at *8-*9.
Although the Vivas court left open the possibility that unconstitutional conduct
could overcome the discretionary function exception, the Eleventh Circuit later
held the exception applies even to unconstitutional conduct. Compare 2021 WL 2021
WL 2582300, at *4, with Shivers v. United States, 1 F.4th 924, 931-35 (11th Cir. 2021).

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liable to the claimant in accordance with the law of the place where the act or

omission occurred.” 28 U.S.C. §§ 1346(b), 2674. The phrase “law of the place”

means the law of the State where the alleged tort occurred. FDIC v. Meyer, 510

US. 471, 478 (1994). Accordingly, Georgia law applies to Plaintiffs’ claims.

                a. False Arrest/False Imprisonment (Count I)

      False arrest and false imprisonment are distinct torts under Georgia law.

O.C.G.A. §§ 51-7-1, 51-7-20. The “key distinction” between the two claims “is

whether the person was detained using a warrant or not.” Ferrell v. Mikula, 295

Ga. App. 326, 329 (2008). Here, Plaintiffs were not detained using a warrant

because the Riley and 3741 Landau warrants – while otherwise valid – were

“void” as to them. See Reese v. Clayton County, 185 Ga. App. 207, 207-08 (1987);

Wilson v. Bonner, 166 Ga. App. 9, 10-11 (1983). Accordingly, Plaintiffs’ purported

claim must be for false imprisonment rather than false arrest. See id.

      Under Georgia law, false imprisonment is “the unlawful detention of the

person of another, for any length of time, whereby such person is deprived of his

personal liberty.” O.C.G.A. § 51-7-20. “False imprisonment is an intentional tort,

not a tort of negligence.” Miller v. Grand Union Co., 250 Ga. App. 751, 754 (2001)

(citation omitted). The only elements are the “detention and the unlawfulness

thereof.” Id. Where, as here, the detention is pursuant to void process, whether

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the detention is unlawful depends upon whether it was “legally authorized

under the circumstances.” Williams v. Smith, 179 Ga. App. 712, 714 (1986).

      Relevant here, “good faith” is a defense to a claim of false imprisonment

when a private person makes or procures the detention of another by mistake.

Wilson, 166 Ga. App. at 14-15; Stewart v. Williams, 243 Ga. 580, 583 (1979); Blocker

v. Clark, 126 Ga. 484, 484 (1906). This is consistent with the general tort provision

of O.C.G.A. § 51-7-21, which provides that those who secure or execute a warrant

in “good faith” may not be held liable for false imprisonment even if the warrant

is defective or void. “Good faith” is “a state of mind indicating honesty and

lawfulness of purpose; belief that one’s conduct is not unconscionable or that

known circumstances do not require further investigation.” Anderson v. Little &

Davenport Funeral Home, Inc., 242 Ga. 751, 753 (1978).

      In Blocker, the Georgia Supreme Court acknowledged that protecting one

who “acts in good faith, although the wrong person may be arrested,” will result

in cases “where a person who is innocent will be deprived of his liberty, and will

have no redress for the wrong.” 126 Ga. at 484. Nevertheless, the court held that

this “good faith” standard was necessary so as not to impede the administration

of law through the execution of warrants or to allow criminals to escape due to

timidity or caution. Id. While the issue of good faith often is a question of fact,

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summary judgment is appropriate where there is no evidence that the defendant

acted in bad faith. See, e.g., Purcell v. Breese, 250 Ga. App. 472, 476 (2001).

      Here, there is no evidence that any agent acted in bad faith when

attempting to execute the warrants at Plaintiffs’ home. Upon realizing their

mistake, moreover, the agents immediately left the home, with Guerra returning

afterwards to apologize, to provide his business card and an FBI contact, and to

document the damage. Because the agents indisputably acted in good faith, their

detention of Plaintiffs was legally authorized, and the United States is entitled to

summary judgment on Plaintiffs’ false arrest/false imprisonment claims.

                    b.     Assault and Battery (Count II)

      Under Georgia law, the torts of assault and battery are codified in

O.C.G.A. § 51-1-13 (battery) and § 51-1-14 (assault). Wallace v. Stringer, 250 Ga.

App. 850, 853 (2001); Newsome v. Cooper-Wiss, Inc., 179 Ga. App. 670, 672 (1986).

O.C.G.A. § 51-1-13 provides that “[a] physical injury done to another shall give a

right of action to the injured party, whatever may be the intention of the person

causing the injury, unless he is justified under some rule of law.” O.C.G.A. § 51-

1-14 provides that “[a]ny violent injury or illegal attempt to commit a physical

injury a person is a tort for which damages may be recovered.”




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      Georgia law also provides, however, that “[a] person is justified in

threatening or using force against another when and to the extent that he or she

reasonably believes that such threat or force is necessary to defend himself or

herself or a third person against such other’s imminent use of unlawful force.”

O.C.G.A. § 16-3-21(a). In addition, Georgia law provides that “a private person

performing a lawful citizen’s arrest has the right to use that force reasonably

necessary to restrain the arrested individual.” Williams v. United States, 314 F.

App’x 253, 259 (11th Cir. 2009) (citing Patel v. State of Georgia, 279 Ga. 750, 754

(2005), and Smith v. Holeman, 212 Ga. App. 158, 160 (1994)).

      Here, the “force” was not only de minimis, but also reasonable given the

agents’ belief they were at the home of a violent, gun-possessing gang member.

See, e.g., Muehler v. Mena, 544 U.S. 93, 100 (2005) (“The governmental interests in

not only detaining, but using handcuffs, are at their maximum when, as here, a

warrant authorizes a search for weapons and a wanted gang member resides on

the premises.”); Myers v. Bowman, 713 F.3d 1319, 1328 (11th Cir. 2013) (grabbing

suspect who may be armed, forcing him to ground, and applying handcuffs is a

“de minimis,” reasonable use of force); Farrell, 280 F.3d at 1351 (finding

reasonable force used in mistakenly arresting compliant individual pursuant to

warrant when officer “grabbed plaintiff’s arm, twisted it around plaintiff’s back,

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jerking it up high to the shoulder and then handcuffed plaintiff as plaintiff fell to

his knees screaming that [the officer] was hurting him”). The United States thus

is entitled to summary judgment as to Plaintiffs’ assault and battery claims.7

III.    CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court

grant summary judgment in their favor as to each of Plaintiffs’ claims.

        Respectfully submitted, this 27th day of August, 2021.

                                                  KURT R. ERSKINE
                                                  Acting United States Attorney

                                                  s/ Aaron J. Ross
                                                  AARON J. ROSS
                                                  Assistant United States Attorney
                                                  Georgia Bar No. 461981



7 In addition to being barred under the FTCA’s discretionary function exception,

see Part III.B.2, supra, Plaintiffs’ Counts III and IV also fail to state a claim under
Georgia law. As to Count III, Georgia’s “innocent trespasser” doctrine protects
from liability “individuals who enter the land of another under the mistaken
belief that it is permissible to do so.” Woodstone Townhouses, LLC v. Southern Fiber
Worx, LLC, 855 S.E.2d 719, 728 (2021) (citation omitted). As to Count IV,
Georgia’s “impact rule” bars Plaintiffs’ negligent infliction of emotional distress
claim because Plaintiffs did not sustain any physical injuries, and the agents’
conduct was not malicious, willful, or wanton. See Clarke v. Freeman, 302 Ga.
App. 831, 836 (2010). Further, Cliatt’s intentional infliction of emotional distress
claim fails because he cannot show that the agents engaged in “intentional or
reckless conduct . . . that is extreme and outrageous” or that he suffered “severe
emotional distress.” Ferrell, 295 Ga. App. at 333.

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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the documents to which this certificate is attached

have been prepared in Book Antiqua font, 13-point type, which is one of the font

and point selections approved by the Court in N.D. Ga. L.R. 5.1(C).

                                             s/ Aaron J. Ross
                                             Aaron J. Ross
                                             Assistant United States Attorney
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system, which will automatically send e-mail

notifications of such filing to the following opposing counsel of record:

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      This 27th day of August, 2021.

                                                s/ Aaron J. Ross
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